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MINUTES OF THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
MARCH 4, 2004

Hon. BARBARA L. MAJOR DEPUTY CLERK: M.AGUILAR
01CR2075-BIM USA Vs MARIO OCHOA-GARCIA ({1/C/T)}

{1}: FEDERAL DEFENDERS

AUSA: ESTHER LEMUS

SUPERVISED RELEASE REVOCATION

BLMO04-1:2697-2932

Parvlene evel

HOnDY HANOVER RELIEVED

FEDERAL DEFENDERS APPOINTED .

DEFT DENIES ALLEGATIONS
COURT FINDS PROBABLE CAUSE

STATUS HEARING SET FOR 03/18/04 AT 9:00AM BEFORE MAGISTRATE JUDGE MAJOR
(COURTROOM A)

 
